United States District Court

District of Massachusetts

 

Mikhael E1-Bayeh,
Plaintiff,

Civil Action No.
21-11674-NMG

Vv.
Michael P. Sierra, et al.,

Defendant.

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MEMORANDUM & ORDER

GORTON, J.

Mikhael El-Bayeh (“El-Bayeh” or “plaintiff”) commenced this
action in Middlesex Superior Court against Michael P. Sierra
(“Sierra”), a member of the Massachusetts State Police, and five
other state officials and entities. On October 15, 2021, Sierra
filed a Notice of Removal with this Court based upon federal
question jurisdiction, pursuant to 28 U.S.C. §§ 1331, 1441 (a)
and 1446. Pending before this Court are two motions to remand,
one filed by El-Bayeh and the other by the remaining five
defendants. Both motions seek remand on the grounds that the

defendants did not unanimously consent to the removal of this

case.
A defendant in a state court action may remove it to
federal court so long as the plaintiff could have originally
filed the action in federal court. See 28 U.S.C. § 1441. If the
action involves multiple defendants, however, 28 U.S.C. 1446
requires that “all defendants consent to remove the case for
removal to be effected,” subject to a few exceptions not
applicable here. Esposito v. Home Depot U.S.A., Inc., 590 F.3d
72, 75 (1st Cir. 2009); see 28 U.S.C. 1446(b) (2) (A) (“When a
civil action is removed [based on federal question
jurisdiction], all defendants who have been properly joined and
served must join in or consent to the removal of the action.”).
This is the so-called “unaminity requirement” described in

Esposito, 590 F.3d at 75 (1st Cir. 2009).

Sierra does not dispute the applicability of the unanimity
requirement but instead argues that it was satisfied here
because there was no notice on the docket of the state court, as
of October 15, 2021, that any defendant had been served. That
argument overlooks the fact that the state court docket clearly
indicates that each of the five other defendants were served
before that date, even though notice of service of process was
not entered on the docket until, coincidentally, October 15,

2021.

The removal statute does not require the consent of
all defendants whose proof of service is on file;
rather, it requires the consent of all defendants who
have been properly joined and served. Allowing

defendants to use proof of service as a proxy for

actual service would be particularly ill-advised in

Massachusetts, where failure to make proof of

service...does not affect the validity of the service.
Doe v. McGuire, 289 F. Supp. 3d 266, 271 (D. Mass. 2018)
(citations and quotations omitted) (emphasis original). Because
Sierra failed to obtain the consent of all of the defendants who
had been served at the time he submitted his notice of removal,

i.e. all five co-defendants, he failed to comply with the

removal requirements of 28 U.S.C. 1446.
ORDER

Accordingly, the motions to remand (Docket Nos. 8 and 12)

will be ALLOWED.

So ordered.

Nathaniel M. Gérton
United States District Judge

Dated March [| , 2022
